     9:18-cv-02565-RMG          Date Filed 05/15/19      Entry Number 54        Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

Beaufort Regional Chamber of Commerce, )
                                              )        Civil Action No. 9: 18-cv-02565-RMG
                        Plaintiff,            )
                                              )
         V.                                   )               ORDER AND OPINION
                                              )
City of Beaufort,                             )
                                              )
                       Defendant.             )


         This matter is before the Court on Plaintiff Beaufort Regional Chamber of Commerce's

Motion to Compel (Dkt. No. 45). For the reasons set forth below, the Court grants the motion.

    I.        Background

         Plaintiff Beaufort Regional Chamber of Commerce (the "Chamber") alleges that the

Defendant City of Beaufort (the "City") improperly registered trademarks for two festivals, the

"Beaufort Shrimp Festival" and "A Taste of Beaufort," previously produced by the Chamber, and

then proceeded to deny the Chamber permits to hold the festivals in 2018 and 2019 while also

granting itself a permit to hold the festivals. (Dkt. No. 34.) The Chamber brought thirteen causes

of action, including claims for declaratory judgment, claims under the Lanham Act, 42 U.S.C. §

1983, and various state laws. (Id.) Discovery is scheduled to close May 20, 2019. (Dkt. No. 30.)

         The Plaintiff Chamber now moves to compel amended responses to their requests for

production. (Dkt. No. 45.) The Chamber claims that, instead of responding individually to each

of their forty requests for production (request forty-one is for a privilege log), the Defendant City

improperly provided the Chamber with 1,379,287 pages of documents and emails, and that, in

addition to this voluminous response, the production was included in 1,273 unorganized files, that

the City failed to identify which produced documents were responsive to which document requests,
     9:18-cv-02565-RMG           Date Filed 05/15/19      Entry Number 54         Page 2 of 6




and that the production includes an almost incalculable number of non-responsive pages. (Dkt.

Nos. 45 at 3 - 6.) The Chamber further represents that when it notified the City of these issues,

the City supplemented its responses but failed to provide any organization to the production and

instead merely stated that the "production of e-mails is in a searchable format granting Plaintiff's

the same access for review that the Defendant has" and that the supplemental response was "the

same" twenty-six requests. (Id. at 6- 7; Dkt. No. 45-16.) The Defendant City opposes the motion,

largely arguing that the Plaintiff's request for production were expansive and that any issues are

from Plaintiff counsel' s failure to download and use an efficient search function. (Dkt. No. 52.)

    II.      Legal Standard

          Parties to a civil litigation may obtain discovery regarding "any nonprivileged matter that

is relevant to any party' s claim or defense" so long as the information is "proportional to the needs

of the case .. .." Fed. R. Civ. P. 26(b)(l). The scope of discovery permitted by Rule 26 is designed

to provide a party with information reasonably necessary to afford a fair opportunity to develop

her case. See, e. g. , Nat 'l Union Fire Ins. Co. of Pittsburgh, P.A. v. Murray Sheet Metal Co., Inc. ,

967 F.2d 980, 983 (4th Cir. 1992) (noting that "the discovery rules are given ' a broad and liberal

treatment"') quoting Hickman v. Taylor, 329 U.S. 495, 507 (1947). The court "must limit the

frequency or extent of discovery ... if it determines that the discovery sought is unreasonably

cumulative or duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive." Fed. R. Civ. P. 26(b)(2)(C)(i). "The scope and conduct of

discovery are within the sound discretion of the district court." Columbus- Am. Discovery Grp. v.

At!. Mut. Ins. Co., 56 F.3d 556, 568 n.16 (4th Cir. 1995); see also Carefirst ofMd, Inc. v. Carefirst

Pregnancy Ctrs., 334 F.3d 390, 402 (4th Cir. 2003) ("Courts have broad discretion in [their]

resolution of discovery problems arising in cases before [them].") (citations omitted).



                                                   2
     9:18-cv-02565-RMG           Date Filed 05/15/19      Entry Number 54        Page 3 of 6




           Rule 34 permits parties to request "designated documents or electronically stored

information." Fed. R. Civ. P. 34. In producing documents, the "party producing ' cannot attempt

to hide a needle in a haystack by mingling responsive documents with large numbers of

nonresponsive documents," however, "'a responding party has no duty to organize and label the

documents if it has produced them as they are kept in the usual course of business. " ' Ashmore v.

Allied Energy, Inc., No. 8:14-CV-00227-JMC, 2016 WL 2898007, at *3 (D.S.C. May 18, 2016)

(citations omitted). Nonetheless, ' if a party elects to produce documents "as they are kept in the

usual course of business,' the producing party 'bear[ s] the burden of showing that the documents

were in fact produced in that manner.'" Id. (citation omitted).

           To enforce discovery obligations, under Rule 37, a "party may move for an order

compelling disclosure or discovery." " [A]n evasive or incomplete disclosure, answer, or response

must be treated as a failure to disclose, answer, or respond." Fed. R. Civ. P. 37(a)(4).

    III.      Discussion

           The Defendant City plainly failed to comply with their production obligations here. A

party cannot be so "overly generous" as to prevent a party from "making a meaningful review of

the documents." Ashmore v. Allied Energy, Inc., No. 8:14-CV-00227-JMC, 2016 WL 2898007,

at *4 (D.S.C. May 18, 2016). See Mach. Sols., Inc. v. Doosan lnfracore Am. Corp., No. 3:15-CV-

03447-JMC, 2017 WL 5191841, at *2 (D.S.C. Nov. 9, 2017) ("the recipient of documentation is

entitled to be able to perform a meaningful review of the documents."). Here, the Defendant City

provided 1,379,287 pages of production.         Even if many of these documents are multiple

permutations of email chains, as suggested by the City, it is clear that this type of production would

take thousands of hours to review and is intended to prevent the Chamber from ever being able to

meaningfully review the documents. The issue is compounded by the fact that the production



                                                  3
    9:18-cv-02565-RMG          Date Filed 05/15/19       Entry Number 54        Page 4 of 6




includes what is likely tens of thousands to hundreds of thousands of non-responsive pages.

Indeed, in a sampling of only one hundred pages submitted to the Court by the Plaintiff, it is clear

that the production includes voluminous non-responsive materials, such as a "Gang Reference

Sheet," a counter-terrorism email, multiple Police Department and Sherriff s Office advisories,

and other similar material. (Dkt. Nos. 45-2 - 45-15.)

       Also egregious is the blatant disregard of the provisions of Rule 34. Rule 34 requires that

"[a] party must produce documents as they are kept in the usual course of business or must organize

and label them to correspond to the categories in the request[.]" Fed. R. Civ. P. 34(b)(2)(E)(i).

The Defendant City relies on this language to argue that the rule necessitated their broad

production as it was produced in the manner "in which the e-mails were kept in the usual course

of business .... " (Dkt. No. 52 at 4.) The City bases this statement on the fact that email files are

kept as ".pst" files, and attributes issues with the production with the Chamber's issues with

downloading and searching ".pst" and ".msg" files. (Id.) The issue, however, is not with the file

format used for production, and indeed the Chamber never addressed file format in their motion.

Instead, the Defendant City, as they acknowledged in their Response, took the documents and

"package[ed] ... the e-mails into separate bundles." (Id. at 3.) The Defendant City did not produce

documents as kept in the "usual course of business" and instead repackaged the requested

documents into disorganized bundles that, as represented by the Plaintiff, are not organized by any

of the factors traditionally applied to emails, such as by person or date. (Dkt. No. 45 at 3.) The

Plaintiff Chamber did not file this motion for aid with "technical knowledge," as the City argues,

and instead the Chamber highlighted the impossibility of meaningful review given the volume,

irrelevant responses and active disorganization of the production. The Defendant City's responses

therefore do not comply with Rule 34. See Pass & Seymour, Inc. v. Hubbell Inc., 255 F.R.D. 331,



                                                 4
     9:18-cv-02565-RMG          Date Filed 05/15/19        Entry Number 54         Page 5 of 6




335 (N.D.N.Y. 2008) (granting motion to compel where "more than 400,000 documents produced

by . .. were placed in 220 unlabelled files and produced in that format"); Williams v. Taser Int 'l,

Inc., No. CIVA1:06-CV-0051-RWS, 2006 WL 1835437, at *7 (N.D. Ga. June 30, 2006) (holding

while defendant "has the option to produce documents as they are kept in the ordinary course of

business, it also has an obligation to organize the documents in such a manner that Plaintiffs may

obtain, with reasonable effort, the documents responsive to their requests.")

        The City additionally claims that these responses were necessitated by Plaintiff Chambers'

broad requests which often begin with the phrase "any and all" and extend to documents from over

twenty years ago. (Dkt. No. 52 at 2.) However, the City fails to acknowledge the second half of

many of the requests, which specify topics for the documents. (Dkt. No. 45-1 at iii! 8, 34.) It also

may be true that some of the questions are overbroad (See, e.g., Dkt. No. 45-1 at            if   38, 39.)

However, to the extent the City asserts that a request is broad, vague, or burdensome, the City must

identify particular facts to support those assertions. See Mancia v. Mayflower Textile Servs. Co.,

253 F.R.D. 354, 358 (D. Md. 2008) (" [B]oilierplate objections that a request for discovery is

' over[broad] and unduly burdensome . . . ' persist despite a litany of decisions from courts, including

this one, that such objections are improper unless based on particularized facts. ").             This is

especially true after the 2015 Amendments to Rule 34(b )(2)(B), requiring that parties      " stat~   with

specificity the grounds for objection to the request." The City often does not do so here, and where

it does object, failed to state the objection with specificity. The Responses also fail to respond to

each request, with the majority of the responses referring to the response to request number 1.

(Dkt. No. 45-1 at iii! 2 - 14, 16, 19-20, 22 - 23, 25 -26, 29- 30, 35 - 36, 38, 40.)

       The Court therefore finds it appropriate to grant the Chamber's motion to compel and order

appropriate remedies. The Defendant City must: ( 1) submit to Plaintiff supplemental responses to



                                                   5
       9:18-cv-02565-RMG            Date Filed 05/15/19       Entry Number 54       Page 6 of 6




the Chamber's Requests for Production Numbers 1 - 40 that specifically identify the documents

and/or electronic files that are responsive to each request, and; (2) re-produce the responsive

documents to Plaintiffs Requests for Production in a manner that is organized and labeled to

correspond to categories of the requests. The Defendant City should ensure that documents that

are non-responsive are not produced. The Court orders Defendant to complete the supplemental

responses and supplemental production by June 4, 2019.

             Finally, the Plaintiff requests payment of expenses and a discovery extension of thirty (30)

days once the new production is provided. At this time, given the remedies in the Order, the Court

declines to award expenses. However, the Defendant City is on notice that the Court will award

expenses for similar failures in the future. Further, to the extent Plaintiff requires additional

discovery after the new production, Plaintiff should make a motion at that time.

       IV.      Conclusion

             For the foregoing reasons, the Court GRANTS Plaintiffs Motion to Compel (Dkt. No.

45).     IT IS ORDERED THAT, by JUNE 4, 2019, Defendant City of Beaufort will serve

supplemental responses and supplemental production as required by this Order.

             AND IT IS SO ORDERED.


                                                           Richard M. Gergel
                                                           United States District Court Judge
May L.£, 2019
Charleston, South Carolina




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